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                                                                   #355
% A 0 245B    (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1




                                              SOUTHERN           District of       ILLINOIS
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
v.
LARRY JORDAN
                                                                         Case Number:                       4:03CR40053-001-JPG
                                                                         USM Number:                        06191-025
                                                                         Justin Kuehn
                                                                         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)
-                                    1 of the Indictment.
- pleaded nolo contendere to count(s)
   which was accepted by the court.
- was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended             Count
21 U.S.C. 846                    Conspiracy to Distribute Cocaine                                           06/02/2003         1




       The defendant is sentenced as provided in pages 2 through                        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
-
0 Count(s)
-                                                         - is       are dismissed on the motion of the United States.

         It is ordered that the defendantmust notify the United States attorney for this distr$t within 30 da s of any change of name, resjden
or mailing address until, all fmes, restitution, costs, and special assessments imposed by this judgmenf are fuKy paid. If ordered to pay restitut~o
the defendant must notify the court and United States attorney of material changes m econormc circumstances.

                                                                         May 3 1,2005
                                                                         Date of Imposition of Judgment          /'




                                                                         J. Phil Gilbert. District Judge

                                                                                                                        1
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A 0 245B       (Rev. 12/03) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                           Judgment - Page   2
 DEFENDANT:                       LARRY JORDAN
 CASE NUMBER:                     4:03CR40053-001-JPG

                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     262 months on Count 1.




     - The court makes the following recommendations to the Bureau of Prisons:




     x The defendant is remanded to the custody of the United States Marshal.
     Ci The defendant shall surrender to the United States Marshal for this district:
     -
           0
           -     at                                     0 a.m.
                                                        -          1 p.m.           on

           -     as notified by the United States Marshal.

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0
           -     before 2 p.m. on
           0
           -     as notified by the United States Marshal.

           -     as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                               to

 a                                                        , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                               -J
                                                                                         DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3
 DEFENDANT:                    LARRY JORDAN
 CASE NUMBER:                  4:03CR40053-001-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :           10 years on Count 1




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determed by the court.
 - The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 -
 [XI The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 U The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
 -
      student, as directed by the probation officer. (Check, if applicable.)

 - The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o?~aynentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           each month;
           the defendant shall answer truthfblly all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a+nister    any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do ~ 0 the
                                                         % potation
                                                              ~       officer;
           the defendant shall pepnit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
           as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's crimin
           record or personay history or characteristics and shall permit the probation officer to make such notifications and to c o n f i th
           defendant s compliance with such notification requirement.
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A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                            Judgment-Page    4
DEFENDANT:                LARRY JORDAN
CASE NUMBER:              4:03CR40053-OOl -JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or te
percent of his net monthly income, whichever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
                          f
alcoholic beverages. T e defendant shall pay for the costs associated with substance abuse counseling and/or testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counseling.
  The defendant shall not gamble or enter any facility where gambling is the primary business. The defendant shall si
                                                                                   i                                    Ya
"self-exclusion" form with one gaming facility in the state of residence and any ad'oining states where legalized gamb ing is
permitted. This form is a voluntary agreement to be temporarily banned from the acilities and the agreement is irrevocable
during the period of supervision.
  The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted b the United States Probation Officers at a reasonable time and in a reasonable manner, based upon reasonable
            Y
suspicion o contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a search pursuan
to this condition.
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A 0 245B                   -
           (Rev. 12/03), Judgment in a Criminal Case
           Sheet 5 - Crimmal Monetary Penalties
                                                                                                      Judgment - Page     5
 DEFENDANT:                        LARRY JORDAN
 CASE NUMBER:                      4:03CR40053-001-JPG
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                         -
                                                                          Fine                              Restitution
 TOTALS            $ 100.00                                           $ 500.00                            $ -0-



 -
 0 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case(A0 245C) will be enter
      after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 -
      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
                                                          i
      the priority order or percentage payment column elow. However, pursuant to 18           8s.8.
                                                                                              § 366461, all nonfederal victims must be p
      before the United States is paid.

 Name of Pavee                                Total Loss*                     Restitution Ordered                   Prioritv or Percentaye




 TOTALS                               $                                      $


 -     Restitution amount ordered pursuant to plea agreement $

 -     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 6 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

 -
 El    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       €3 the interest requirement is waived for the
       -                                                      Q    fine       restitution.

       -
       0 the interest requirement for the              fine       - restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or aft
 September 13, 1994, but before April 23, 1996.
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                                                                  #360

                                                                                                         Judgment - Page      6
DEFENDANT:                  LARRY JORDAN
CASE NUMBER:                4:03CR40053-001-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         Lump sum payment of $                             due immediately, balance due

           -     not later than                                   3   or
           -     in accordance           - C,         1 D,   1        E, or   1 F below; or
 B    2    Payment to begin immediately (may be combined with                 C,     - D, or         F below); or

 C    1 Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    1 Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
           supervised release shall be paid at the rate of $           per month,         % of defendants monthly gross earnings,
           whichever is greater.

 F    xE Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net month
           income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, p a y t of criminal monetary penalties is due durin
                               r'
 imprisonment. All cr~mina moneta penalties, except jbose payments made through t e Federal Bureau of Prisons' Inmate Finanel
 Responsibility Program, are made t o x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




-
0     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0
 -    The defendant shall pay the cost of prosecution.
 -
 0    The defendant shall pay the following court cost(s):
 -
 0    The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         I
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, ( 6 ) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
